          Entered on Docket May 8, 2019
                                                       Below is the Order of the Court.



1                                                       _______________________________
                                                        Marc Barreca
2                                                       U.S. Bankruptcy Judge
                                                        (Dated as of Entered on Docket date above)
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8
                              UNITED STATES BANKRUPTCY COURT
9
                          WESTERN DISTRICT OF WASHINGTON AT SEATTLE

10     In re:
                                                              Bankruptcy No 16-12154-MLB
11
       Young S Oh,                                            ORDER OF INELIGIBILITY FOR
12                                                            DISCHARGE

13                                     Debtor.
14          THIS MATTER came before me on the Clerk’s Order to Show Cause for Eligibility for
15   Discharge (Dkt. No. 12). I reviewed the docket, considered responses (if any), heard oral argument (if
16   any), found that the Debtor received a discharge in a prior case within the time period specified under 11
17   U.S.C. § 727(a)(8), § 1328(f)(1), or § 1328(f)(2), and concluded that the Debtor is ineligible for a
18   discharge in this case. Now, therefore, it is hereby:

19          ORDERED that the Debtor is ineligible to receive a discharge in this case. When the case is

20   completed, it shall be closed without entry of a discharge.

21                                               /// End of Order ///

22   To be served on Debtor via the BNC.

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     INELIGIBILITY FOR DISCHARGE - 1
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